                          UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TENNESSEE
                               NORTHERN DIVISION


 ROBERT M. COCHRAN, individually, and
 on behalf of all others similarly situated,

 Plaintiff,
                                                       Case No. 3:22-cv-00429
 v.

 EMORTGAGE LENDING, INC., and JOHN
 DOES 1-10,


 Defendant.


                                CLASS ACTION COMPLAINT
        NOW COMES ROBERT M. COCHRAN (“Plaintiff), individually, and behalf of all

others similarly situated, by and through his undersigned counsel, complaining of EMORTGAGE

LENDING, INC., and JOHN DOES 1-10 (“Defendants”), as follows:

                                  NATURE OF THE ACTION

        1.     Plaintiff brings this action seeking redress for Defendants’ violations of the

Telephone Consumer Protection Act (“TCPA”), 47 U.S.C. § 227 et seq., and the Tennessee

Consumer Protection Act (“TNCPA”) under Tenn. Code § 47-18-104 et seq.

        2.     “The primary purpose of the TCPA was to protect individuals from the harassment,

invasion of privacy, inconvenience, nuisance, and other harms associated with unsolicited,

automated calls.” Parchman v. SLM Corp., 896 F.3d 728, 738-39 (6th Cir. 2018) citing Telephone

Consumer Protection Act of 1991, Pub. L. No. 102-243, § 2, 105 Stat. 2394 (1991).

        3.     As the Supreme Court recently observed, “Americans passionately disagree about

many things. But they are largely united in their disdain for robocalls.” Barr v. Am. Ass’n of

Political Consultants, 140 S. Ct. 2335, 2343 (2020).



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                                 JURISDICTION AND VENUE

       4.      This Court has federal question jurisdiction pursuant to 28 U.S.C. § 1331 as the

TCPA is a federal statute.

       5.      Venue in this district is proper pursuant to 28 U.S.C. § 1391(b)(2) as a substantial

part of the events and omissions giving rise to Plaintiff’s claims occurred in this judicial district.

                                             PARTIES

       6.      Plaintiff is a natural person, over 18-years-of-age, who at all times relevant resided

in Bean Station, Tennessee.

       7.      Plaintiff is a “person” as defined by 47 U.S.C. § 153(39).

       8.      Defendant offers a wide array of exclusive wholesale mortgage products to

consumers throughout the United States.i.

       9.      Defendant maintains its principal place of business in Bonita, California.

       10.     Defendant is a “person” as defined by 47 U.S.C. § 153(39).

       11.     JOHN DOES 1-10 are third party vendors/agents that Defendant engages to place

outbound marketing calls to individuals on Defendant’s behalf.

       12.     At all times relevant, Defendant had an agency relationship with JOHN DOES 1-

10 whereby Defendant (as the principal) had the right to control and direct the activities of JOHN

DOES 1-10 (as the agents) and JOHN DOES 1-10 (as the agents) had the authority to act on behalf

of Defendant. Accordingly, Defendant, as the principal of JOHN DOES 1-10, is liable for the acts

of its agents JOHN DOES 1-10.

                                   FACUTAL ALLEGATIONS

       13.     Upon information and belief, Defendant develops marketing campaigns using a

combination of sales channels, with an emphasis on outbound telemarketing.



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          14.     Upon information and belief, Defendant utilizes third-party vendors (John Does 1-

10) to advertise its lending options on Defendant’s behalf.

          15.     Upon information and belief, Defendant’s vendors are essential to the success of its

telemarketing campaigns.

          16.     Upon information and belief, Defendant’s ability to solicit lending applicants

significantly depends on its access to high-quality vendors.

          17.     Defendant is subject to liability under the TCPA for actions of its third-party

vendors who engage in outbound telemarketing efforts on Defendant’s behalf.

          18.     Upon information and belief, Defendant’s third-party vendors identify themselves

as representatives of “eMortgage” and “eMortgage Lending”.

          19.     At all times relevant, Plaintiff was the sole operator, possessor, and subscriber of

the number ending in 0642.

          20.     At all times relevant, Plaintiff’s number ending in 0642 was assigned to a cellular

telephone service.

          21.     At all times relevant, Plaintiff was financially responsible for his cellular telephone

equipment and services.

          22.     At all times relevant, Plaintiff’s cellular telephone number ending in 0642 has been

registered on the National Do Not Call List.1

          23.     In or around the summer of 2022, Plaintiff obtained a pre-approval to purchase a

home through LoanDepot, LLC.

          24.     Soon after Plaintiff obtained the preapproval, he began receiving unwanted calls

from Defendant.



1
    https://www.donotcall.gov/ (last visited November 22, 2022).

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        25.    Plaintiff never applied for a loan or financing from Defendant.

        26.    Frustrated with the solicitation phone calls he was receiving, Plaintiff registered his

phone number with the National Do Not Call Registry on August 4, 2022.

        27.    Unfortunately, Plaintiff continued to receive unwanted calls from Defendant.

        28.    Specifically, on August 10, 2022, Plaintiff received a call from the Defendant.

        29.    During said phone call, Defendant’s agent advised she was calling from eMortgage

Lending.

        30.    Plaintiff advised Defendant’s agent that he did not wish to receive solicitation calls

from Defendant, to which Defendant’s agent replied “so you are not interested in taking out some

of the equity from your home?”

        31.    Plaintiff again advised the Defendant’s agent that he did not wish to receive

solicitation calls, at which time the agent disconnected the call.

        32.    On October 19, 2022. Plaintiff answered a call to his cellular phone that was

identified as “Spam Risk.”

        33.    During said call, the Defendant said she was calling from “eMortgage.”

        34.    Despite Plaintiff’s registering his number on the National Do Not Call Registry,

and Plaintiff specifically requesting to not receive any more calls from Defendant, Defendant has

continued to place solicitation calls to Plaintiff’s cellular phone number.

        35.    Defendant has called Plaintiff from many Tennessee numbers including (931) 350-

8270.

        36.    It was clear to Plaintiff that Defendant’s calls utilized an artificial and/or

prerecorded voice and/ or an auto-dialer because there was a noticeable period of silence after he

said “hello” while Defendant’s system connected him to a live agent.



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       37.     At no point in time did Plaintiff provide Defendant with consent to place solicitation

calls to his cellular phone number.

                                           DAMAGES

       38.     Plaintiff values his time, privacy, and solitude.

       39.     Defendant’s unlawful marketing practices have caused Plaintiff concrete harm,

including: invading Plaintiff’s privacy, annoyance, nuisance, wasting Plaintiff’s time, the

increased risk of personal injury resulting from the distraction caused by the solicitation calls,

decreased productivity, aggravation that accompanies unwanted solicitation calls, frustration, loss

of concentration, and the loss of battery charge.

       40.     Plaintiff is married with children. Each time Defendant left a message on Plaintiff’s

cellular phone, Plaintiff was forced to drop whatever he was doing and check his phone to make

sure that there was no emergency involving his family that required his immediate attention.

       41.     Concerned with the escalation of Defendant’s invasive marketing practices,

Plaintiff was forced to file this lawsuit to compel Defendant to cease its unlawful telemarketing

practices.

                                      CLASS ALLEGATIONS

       42.     All preceding Paragraphs of this Complaint are expressly adopted and incorporated

herein as though fully set forth herein.

       43.     Plaintiff brings this action pursuant to Fed. R. Civ. P. 23(b)(2) and 23(b)(3)

individually, and on behalf of all others similarly situated (“Putative Classes”) defined as follows:




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                                    Do-Not-Call Registry Class

       All individuals in the United States (1) to whom Defendant, or a third party acting
       on Defendant’s behalf, placed, or caused to be placed, a phone call; (2) directed to
       a cellular telephone number; (3) that is registered on the national do-not-call
       registry; (4) in which the purpose of the call was to solicit mortgage lending; (5)
       within the four years preceding the date of the original complaint through the date
       of class certification.

       44.       The following individuals are excluded from the Putative Classes: (1) any Judge or

Magistrate Judge presiding over this action and members of their families; (2) Defendant,

Defendant’s subsidiaries, parents, successors, predecessors, and any entity in which Defendant or

its parents have a controlling interest and their current or former employees, officers, and directors;

(3) Plaintiff’s attorneys; (4) individuals who properly execute and file a timely request for

exclusion from the Putative Classes; (5) the legal representatives, successors, or assigns of any

such excluded individuals; and (6) individuals whose claims against Defendant have been fully

and finally adjudicated and/or released.

       A.        Numerosity

       45.       Upon information and belief, the members of the Putative Classes are so numerous

that joinder of them is impracticable.

       46.       The exact number of the members of the Putative Classes is unknown to Plaintiff

at this time and can only be determined through targeted discovery.

       47.       The members of the Putative Classes are ascertainable because the Classes are

defined by reference to objective criteria.

       48.       The members of the Putative Classes are identifiable in that their names, addresses,

and telephone numbers can be identified in business records maintained by Defendant or its third-

party vendors.




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       B.      Commonality and Predominance

       49.     There are many questions of law and fact common to the claims of Plaintiff and the

claims of the members of the Putative Classes.

       50.     Those questions predominate over any questions that may affect individual

members of the Putative Classes.

       C.      Typicality

       51.     Plaintiff’s claims are typical of members of the Putative Classes because Plaintiff

and members of the Putative Classes are entitled to damages as a result of Defendant’s unlawful

marketing practices.

       D.      Superiority and Manageability

       52.     This case is also appropriate for class certification as class proceedings are superior

to all other available methods for the efficient and fair adjudication of this controversy.

       53.     The damages suffered by the individual members of the Putative Classes will likely

be relatively small, especially given the burden and expense required for individual prosecution.

       54.     By contrast, a class action provides the benefits of single adjudication, economies

of scale, and comprehensive supervision by a single court.

       55.     Economies of effort, expense, and time will be fostered, and uniformity of decisions

ensured.

       E.      Adequate Representation

       56.     Plaintiff will adequately and fairly represent and protect the interests of the Putative

Classes.

       57.     Plaintiff has no interests antagonistic to those of the members of the Putative

Classes and Defendant has no defenses unique to Plaintiff.



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        58.      Plaintiff has retained competent and experienced counsel in consumer class action

litigation.

                                     CLAIMS FOR RELIEF

                                             COUNT I:
                     Violations of the Telephone Consumer Protection Act
              (On behalf of Plaintiff and the Members of Do-Not-Call Registry Class)

        59.      All preceding Paragraphs of this Complaint are expressly adopted and incorporated

herein as though fully set forth herein.

        60.      Pursuant to 47 C.F.R. §64.1200(c)(2) (a regulation based on 47 U.S.C. §227(c)), it

is a violation of the TCPA to call “[a] residential telephone subscriber who has registered his or

her telephone number on the national do-not-call registry of persons who do not wish to receive

telephone solicitations that is maintained by the Federal Government. This regulation also applies

to wireless telephone subscribers who have registered their numbers on the national do-no-call

registry.” Heidorn v. BDD Mktg. & Mgmt. Co., LLC, 2013 U.S. Dist. LEXIS 177166, at *30-31

(N.D. Cal. 2013).

        61.      Defendant violated 47 C.F.R. §64.1200(c)(2) by placing or causing to be placed

solicitation calls to Plaintiff’s cellular telephone number while it was registered on the National

Do Not Call Registry.

        62.      As pled above, Plaintiff never consented to receiving solicitation calls from

Defendant.

        63.      Defendant knew or should have known that Plaintiff’s phone number was on the

Do-Not-Call Registry as the Registry is publicly available and easily accessible.




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       64.     Instead of scrubbing Plaintiff’s phone number through the Do-Not-Call Registry

prior to making its solicitation calls, Defendant recklessly placed calls to Plaintiff’s cellular phone

number without first scrubbing Plaintiff’s phone number through the Do-Not-Call Registry.

       65.     Upon information and belief, Defendant does not maintain adequate procedures or

protocols to ensure that it does not place solicitation calls to phone numbers that are registered on

the National Do-Not-Call Registry.

       WHEREFORE, Plaintiff, on behalf of himself and the members of the Do-Not-Call

Registry Class, requests the following relief:

       A.      an order granting certification of the Do-Not-Call Registry Class, including the

               designation of Plaintiff as the named representative, and the appointment of the

               undersigned as Class Counsel;

       B.      an order enjoining Defendant from placing or causing to place further violating

               calls to consumers;

       C.      judgment in Plaintiff’s favor for Defendant’s violations of the TCPA;

       D.      judgment in favor of the Do-Not-Call Registry Class for Defendant’s violations of

               the TCPA;

       E.      an award of $500.00 in damages to Plaintiff and the members of the Do-Not-Call

               Registry Class for each violating call;

       F.      an award of treble damages up to $1,500.00 to Plaintiff and the members of the Do-

               Not-Call Registry Class for each violating call; and

       G.      any further relief this Court deems just and proper.




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                                           COUNT III:
                      Violations of the Tennessee Consumer Protection Act

           66.   All preceding Paragraphs of this Complaint are expressly adopted and incorporated

 herein as though fully set forth herein.

           67.   At all relevant times, Defendant’s conduct was in connection with “trade,”

 “commerce,” and a “consumer transaction” as defined by Tenn. Code § 47-18-103(20). Franks v

 Sykes, 600 S.W.3d 908 (Tenn. 2020).

           68.   The TNCPA provides that, “[u]nfair or deceptive acts or practices affecting the

 conduct of any trade or commerce constitute unlawful acts or practices.” Tenn. Code § 47-18-

 104(a).

           69.   Defendant violated the TNCPA by engaging in an unfair, unconscionable, and

 deceptive acts in contacting Plaintiff. Defendant willfully engaged in unfair conduct when it

 repeatedly called Plaintiff after being notified to cease its contacts. The fact Plaintiff was

 compelled to reiterate his demands for no further phone calls by registering his number with the

 National Do Not Call Registry only further evinces the willfully unfair and unconscionable

 conduct engaged in by Defendant. Defendant engaged in its harassing phone call campaign not in

 a legitimate attempt to contact a consumer to offer its services, but instead in a willfully and/or

 recklessly unfair attempt to harass a consumer into submission.

           70.   The repeated contacts were extremely unfair to Plaintiff and were made with

 deception and the hope that Plaintiff would succumb to the harassing behavior and ultimately apply

 for a loan with Defendant. In continuing to make such calls, Defendant unlawfully represented to

 Plaintiff its lawful ability to make such harassing phone calls. Rather than abiding by Plaintiff’s

 wishes, Defendant continued in its harassing and deceptive campaign of phone calls.




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       WHEREFORE, Plaintiff respectfully requests that this Honorable Court enter judgment in

 his favor as follows:

       A. Declaring that the practices complained of herein are unlawful and violate the
          aforementioned statutes and regulations;

       B. Awarding Plaintiff actual damages pursuant to Tenn. Code § 47-18-109(a)(1);


       C. Award Plaintiff punitive damages pursuant to Tenn. Code § 47-18-109(3);


       D. Award Plaintiff reasonable attorney’s fees and costs pursuant to Tenn. Code § 47-18-
          103(e)(1);


       E. Enjoining Defendant from contacting Plaintiff pursuant to Tenn. Code § 47-18-103(b); and,


       F. Awarding any other relief as the Arbitrator deems just and appropriate.

                                         DEMAND FOR JURY TRIAL

           Pursuant to Fed. R. Civ. P. 38(b), Plaintiff demands a trial by jury.



 Dated: November 30, 2022                                 Respectfully submitted,

                                                          ROBERT M. COCHRAN

                                                          /s/ Marwan R. Daher
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     https://www.emortgagecal.com/ (last visited November 22, 2022).


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